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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WISCONSIN

DEMOCRATIC NATIONAL COMMITTEE and
DEMOCRATIC PARTY OF WISCONSIN                             Civil Action No. 3:20-cv-00249

                       Plaintiffs,

       v.

MARGE BOSTELMANN, JULIE M. GLANCEY,
ANN S. JACOBS, DEAN KNUDSON, ROBERT
F. SPINDELL, JR., and MARK L. THOMSEN, in
their official capacities as Wisconsin Elections
Commissioners,

                       Defendants.


      PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER AND
                       PRELIMINARY INJUNCTION

       Plaintiffs DEMOCRATIC NATIONAL COMMITTEE (“DNC”) and DEMOCRATIC

PARTY OF WISCONSIN, by and through their attorneys, respectfully move the Court pursuant

to Rule 65 of the Federal Rules of Civil Procedure for a temporary restraining order and, after

further proceedings, a preliminary injunction restraining Defendants and their respective agents,

officers, employees, and successors, and all persons acting in concert with each or any of them,

from enforcing (1) the current on-line and mail-in registration deadline, Wisc. Stat. § 6.28(1); (2)

requirements that copies of proof of residence and voter ID accompany electronic and by-mail

voter registration, id. § 6.34; (3) requirements that copies of photo identification accompany

absentee ballot applications, id. §§ 6.86, 6.87; and (4) the requirement that polling places receive

absentee ballots by 8:00 p.m. on Election Day to be counted (“Election Day Receipt Deadline”),

id. § 6.87 (collectively, the “Challenged Provisions”).

       Plaintiffs are entitled to a temporary restraining order and a preliminary injunction because

they are substantially likely to succeed on the merits of their claim that the Challenged Provisions
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severely burden the rights of Wisconsin voters and deprive them of a liberty interest. The United

States is in the throes of an unprecedented crisis and, as COVID-19 spreads throughout the country,

Americans⸺including Wisconsinites⸺are forced to socially distance themselves to try to slow

the spread of the disease in a communal effort to save their friends, neighbors, and families, with

no clear end in sight. 1 Wisconsin voters⸺including thousands of Plaintiffs’ members and

constituents⸺should not also be forced to make the untenable choice between their safety and

potentially endangering the lives of others and exercising their fundamental right to vote. Yet, the

Challenged Provisions do just that, forcing voters to resort to in-person registration or to leaving

their homes to copy documents. Moreover, they impose arbitrary deadlines that simply cannot be

met in the current crisis. If the Challenged Provisions are not enjoined during this unprecedented

crisis, they will individually and collectively pose significant risks to voters seeking to exercise

their right to vote in the upcoming April 7, 2020 election and in any election held while the crisis

persists. Plaintiffs are also entitled to relief because they will suffer irreparable harm absent relief,

and traditional legal remedies will not adequately protect their rights. Further, the harm to Plaintiffs

and Wisconsin voters outweighs any putative harm to the State, and the relief Plaintiffs seek is in

the public interest. In order to maintain the status quo pending determination of their motion for

preliminary injunction, Plaintiffs seek an immediate temporary restraining order to prevent these

immediate and irreparable injuries to Wisconsin voters’ rights.

         For the foregoing reasons, and as set forth in the accompanying Brief in Support of

Plaintiffs’ Motion for Temporary Restraining Order and Preliminary Injunction, the DNC and




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  Just yesterday, in fact, Wisconsin Governor Tony Evers banned public gatherings of more than 10 people effective
at 5:00 p.m. on March 17, 2020. Sarah Seifert, Evers bans gatherings of 10 people or more, LEADER-TELEGRAM (Mar.
17, 2020), https://www.leadertelegram.com/covid-19/evers-bans-gatherings-of-people-or-more/article_b9d9d9b3-
d3a3-5725-a278-5562b2c18ace.html. The latest estimates indicate that the current crisis and social distancing efforts
could persist for the next 14 to 18 months.


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Democratic Party of Wisconsin respectfully request that this Court grant an immediate Temporary

Restraining Order and, after further proceedings, a Preliminary Injunction enjoining (1)

enforcement of the March 18 electronic and by-mail voter registration deadline and extending it

to April 3; (2) the requirement that new voter registrations include copies of proof of residency,

(3) the requirement that absentee voters include a copy of voter identification with absentee ballot

requests, and (4) the rejection of ballots that are postmarked on or before Election Day and arrive

at a polling place or municipal clerk’s office within, at a minimum, ten days of Election Day and

ballots that do not have a postmark or other marking from the United States Postal Service are

presumed to have been mailed on or before Election Day.

       Dated this 18th day of March, 2020.



                                               Respectfully submitted,



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